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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 BENNY WILSON,                                        )
 # S11755,                                            )
                                                      )
                                                      )
                         Plaintiff,                   )   Case No. 21-716-SPM
                                                      )
 vs.                                                  )
                                                      )
 ROB JEFFREYS ET AL,                                  )
                                                      )
                         Defendants.                  )


                    HIPAA QUALIFIED PROTECTIVE ORDER

MCGLYNN, District Judge:

       The Court finds that good cause exists for the entry of a Qualified Protective Order pursuant

to the Health Insurance Portability and Accountability Act (“HIPAA”) to prevent the unauthorized

disclosure and to direct the use of protected health information during the course of this litigation.

Accordingly, IT IS ORDERED:

       1.      All records produced by the parties to this litigation are produced subject to this

               Order.

       2.      This Order applies to any records produced by a covered entity, as defined by

               45 C.F.R. 160.103, which has received a request or subpoena for protected health

               information.

       3.      During the course of this litigation, it may be necessary for the parties or their

               attorneys to disclose Plaintiff’s protected health information, as that term is defined

               under HIPAA and the Federal Regulations promulgated pursuant to that Act.




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                (a)    All protected health information disclosed by any of Plaintiff’s
                       healthcare providers shall be used for the sole purpose of preparing
                       for or conducting this litigation, including but not limited to
                       investigation, consultation, discovery, depositions, trial preparation,
                       trial, appeal, resolution, mediation, or uses incidental to the
                       proceeding in this case and shall not be disclosed or revealed to
                       anyone not authorized by this Protective Order.

                (b)    Protected health information pursuant to this HIPAA Qualified
                       Order may include information related to sexually transmitted
                       disease, genetic testing, HIV, behavioral or mental health services,
                       and treatment for alcohol and drug abuse.

                (c)    Protected health information may be disclosed without further
                       notice by any covered entity or healthcare provider, party or parties’
                       attorney, to:

                       (1) The parties themselves, parties’ attorneys, experts, consultants,
                           any witness or other person retained or called by the parties,
                           treating physicians, other healthcare providers, insurance
                           carriers, or other entities from whom damages, compensation, or
                           indemnity is sought and any entity performing, monitoring, or
                           providing adjustment activities on behalf of such insurance
                           carrier or other entity and/or their employees, agents, or third
                           party administrators for any of the parties involved in the
                           litigation; in any proceeding for health oversight activities as
                           permitted under 45 C.F.R. 164.512, court reporters, copy
                           services, other similar vendors to the parties and their attorneys,
                           as well as the professional and support staff of the above.

                       (2) The parties, and each entity governed by this Order, shall either
                           (a) destroy, or (b) return to the entity who originally produced it,
                           all protected health information, including all copies made;
                           provided, however, that said protected health information may
                           be retained in the files of the entities listed in paragraph
                           (1) above and may be destroyed pursuant to their regular file
                           retention policies so long as the protected health information is
                           maintained in a secure environment.

    IT IS SO ORDERED.

    DATED: 6/24/2022

                                              s/Stephen M. McGlynn
                                              Stephen P. McGlynn
                                              United States District Judge


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